Case: 1:18-cr-001Q9\) SR Ppa OF Fuerh (2/4 /A9-Rage jaf 1 PAGEID #: 524
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff,
Case No. 1:18CR109
Vv. (Litkovitz, MJ.)
AKLIDDIN KALONOF
Defendant.

 

ORDER APPOINTING COUNSEL

 

The Defendant has filed with this Court a financial affidavit which shows his/her
inability to retain counsel.

Therefore, the Federal Public Defender, 250 E. Fifth Street, Suite 350, Chiquita
Center, Cincinnati, Ohio 45202, 513-929-4834, is hereby appointed to represent the
Defendant in this matter, or is directed to appoint counsel from the Court’s Criminal
Justice Act Panel (CJA). The defendant may be required to contribute to the cost of
representation depending on circumstances to be determined at a later date.

IT IS SO ORDERED.

Date ZF Kien 2 thei
Karen L. Litkovitz

AWH-February 12, 2019

United States Magistrate Judge

cc: USAO/ USPTS / USPO / USMS (Fax 684-6397) / CNSL /
